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                                          UNITED STATES DISTRICT COURT
                                                 PROBATION OFFICE
                                             DISTRICT OF NEW JERSEY
   CHRISTOPHER MALONEY                                                                                   SUPERVISION UNIT
    CHIEF PROBATION OFFICER                                                                           20 WASHINGTON PLACI
                                                        Aprilll,2011                                         6”FLOOR
      WILFREDO TORRES                                                                                   NEWARK, NJ 07102-317
SENIOR DEPUTY CHIEF PROBATION OFFICER                                                                      (973) 645-6161
 DEPUTY CHIEF PROBATION OFFiCER                                                                          FAX: (973)645-2155
      THOMAS C. MILLER                                                                                  www.njp.uscourts.gov


           Honorable William H. Walls
           Martin Luther King Jr.
          Federal Building & Courthouse
          P.O. Box 0999
          Newark, New Jersey 07102-0999
                                                                          RE: Henderson, William
                                                                          DKT. NO. : 07-00549-003
                                                                          Request to allow supervision to expire
                                                                          with restitution owing


          Dear Judge Walls:

          On April 13, 2009, Henderson was sentenced by Your Honor to time served (25 months) followed by
          two years of supervised release for Possession of Cocaine Base. His term of supervised release began
          immediately. The offender was in Integrity transitional housing, and recently secured an apartment of
          his own.

          The offender’s case expire’s tomorrow, April 12, 2011.

          The offender has paid his special assessment, but was unable to pay the fine of$ 1,000.00. The offender
          is collecting social security and is on a fixed income. He has a part-time job as a barber, however, he
          only makes enough income to meet his monthly expenses. We will notif’ the Financial Litigation Unit
          to continue to collect after expiration of his case. Should the Court concur with our request to allow
          the term to expire with restitution owing., please sign below and return to the Probation Office. If Your
          Honor wishes to discuss this matter further, please contact the undersigned officer at (973) 207-9955.

                                                                  Respectfully submitted,

                                                                  CHRISTOPHER MALONEY, Chief
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                                                                  U S Probation Officer

         Honorable WilltaThTl Walls
         I agree to allow the supervision
         to end with restitution owing_____
                                                                 By: Kellyanne Kelly
                                                                     Senior U.S. Probation Officer

         /kak
